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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

PUBLIC BROADCASTING SERVICE,
1225 South Clark Street
Arlington, V.A. 22202; and

NORTHERN MINNESOTA PUBLIC
TELEVISION, INC. d.b.a. LAKELAND
PBS,
108 Grant Avenue NE
Bemidji, M.N. 56601,

             Plaintiffs,
                                            Civil Action No. _______________
      v.

DONALD J. TRUMP, in his official            COMPLAINT FOR DECLARATORY
capacity as President of the United         AND INJUNCTIVE RELIEF
States,
1600 Pennsylvania Avenue NW
Washington, D.C. 20500;

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue NW
Washington, D.C. 20220;

SCOTT BESSENT, in his official
capacity as Secretary of the United
States Department of the Treasury,
1500 Pennsylvania Avenue NW
Washington, D.C. 20220;

UNITED STATES OFFICE OF
MANAGEMENT AND BUDGET,
725 17th Street NW
Washington, D.C. 20503;

RUSSELL VOUGHT, in his official
capacity as Director of the United States
Office of Management and Budget,
725 17th Street NW
Washington, D.C. 20503;
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UNITED STATES DEPARTMENT OF
EDUCATION,
400 Maryland Avenue SW
Washington, D.C. 20202;

LINDA MCMAHON, in her official
capacity as Secretary of the United
States Department of Education,
400 Maryland Avenue SW
Washington, D.C. 20202;

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,
245 Murray Lane SW, Mail Stop 0485
Washington, D.C. 20528-0485;

KRISTI NOEM, in her official capacity
as Secretary of the Department of
Homeland Security,
245 Murray Lane SW, Mail Stop 0485
Washington, D.C. 20528-0485;

FEDERAL EMERGENCY
MANAGEMENT AGENCY,
500 C Street SW
Washington, D.C. 20472;

DAVID RICHARDSON, in his official
capacity as Senior Official Performing
the Duties of FEMA Administrator,
500 C Street SW
Washington, D.C. 20472;
             Defendants.
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      The Public Broadcasting Service (“PBS”) and Northern Minnesota Public

Television, Inc. d.b.a Lakeland PBS (“Lakeland PBS”) bring this action for

declaratory and injunctive relief and state the following in support thereof:

                          PRELIMINARY STATEMENT

      1.      This action challenges an unprecedented presidential directive

attacking PBS and its member stations (“PBS Member Stations”) in a manner that

will upend public television. Consistent with Congress’s mandate and funding, PBS

has provided trusted and award-winning educational, cultural, scientific, and public

affairs programming—like Mister Rogers’ Neighborhood, Sesame Street, NOVA,

Frontline, and numerous Ken Burns films (e.g., The Civil War, Baseball, The National

Parks: America’s Best Idea, and Country Music)—to millions of viewers of all ages

and communities across the United States for more than half a century. Yet in an

Executive Order issued on May 1, 2025, the President declared that government

funding of private sources of non-commercial media is “corrosive,” and singled out

PBS (alongside National Public Radio) as failing to provide “fair, accurate, unbiased,

and nonpartisan news.” Exec. Order No. 14,290, Ending Taxpayer Subsidization of

Biased Media, 90 Fed. Reg. 19,415, 19,415 (May 1, 2025) (the “EO”). PBS disputes

those charged assertions in the strongest possible terms. But regardless of any policy

disagreements over the role of public television, our Constitution and laws forbid the

President from serving as the arbiter of the content of PBS’s programming, including

by attempting to defund PBS.




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      2.      Indeed, since Congress laid the foundations for the growth of public

television over 50 years ago, it has repeatedly protected the flow of federal funds from

political interference by filtering them through a non-federal, non-profit, and non-

partisan entity—the Corporation for Public Broadcasting (“CPB”)—and by providing

for long-term appropriations. Lest there be any doubt that the Executive Branch

should have no power to influence CPB’s decision-making, Congress enacted a specific

“[p]rohibition”: no “department, agency, officer, or employee of the United States”

may “exercise any direction, supervision, or control over public telecommunications,

or over [CPB] or any of its grantees”—including with respect to “the content or

distribution of public telecommunications programs and services.” 47 U.S.C. § 398(a),

(c) (emphases added).

      3.      The EO violates not only those straightforward statutory restrictions

but also the First Amendment. The EO makes no attempt to hide the fact that it is

cutting off the flow of funds to PBS because of the content of PBS programming and

out of a desire to alter the content of speech. That is blatant viewpoint discrimination

and an infringement of PBS and PBS Member Stations’ private editorial discretion.

The EO also seeks to impose an unconstitutional condition on PBS Member Stations’

receipt of federal funds by prohibiting them from using federal funds to access PBS

programming and services. And the EO smacks of retaliation for, among other things,

perceived political slights in news coverage.       That all transgresses the First

Amendment’s protection of both speech and freedom of the press.




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      4.      If allowed to stand, the EO would override Congress’s decision to remove

the administration of federal funding for public television from the government’s

editorial purview. And it would have profound impacts on the ability of PBS and PBS

Member Stations to provide a rich tapestry of programming to all Americans. PBS

and Lakeland PBS bring suit to preserve their ability to serve their viewers and

communities without political interference, as both Congress and the First

Amendment mandate.

                                      PARTIES

      5.      Plaintiff PBS, a private non-profit corporation headquartered in

Arlington, Virginia, is a membership organization comprising 336 local public

television broadcast stations throughout the United States and its territories. PBS

Member Stations pay dues to PBS and elect a majority of PBS’s board of directors

from the ranks of PBS Member Station managers.

      6.      Plaintiff Lakeland PBS is a non-profit public broadcasting service

organization serving approximately 490,000 people in northern and central

Minnesota and has been a PBS Member Station since its inception in 1979. Lakeland

PBS pays PBS annual membership dues.

      7.      Defendant Donald J. Trump is the President of the United States. He

is responsible for the EO and is being sued in his official capacity.

      8.      Defendant United States Department of the Treasury (“Treasury”) is a

federal executive agency responsible for managing federal finances, government

accounts, and public debt, including by disbursing funds to CPB.



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       9.      Defendant Scott Bessent is the Secretary of the Treasury. He is being

sued in his official capacity.

       10.     Defendant Office of Management and Budget (“OMB”) is a federal

executive agency within the Executive Office of the President responsible for

assisting the President in overseeing the preparation and execution of the federal

budget, as well as supervising the management, regulatory, and policy

implementation activities of Executive Branch agencies.

       11.     Defendant Russell Vought is the Director of OMB. He is being sued in

his official capacity.

       12.     Defendant United States Department of Education (“ED”) is a federal

executive agency tasked with establishing policy for, administering, and coordinating

most federal assistance for education, including by providing grants to PBS.

       13.     Defendant Linda McMahon is the Secretary of ED. She is being sued in

her official capacity.

       14.     Defendant United States Department of Homeland Security (“DHS”) is

a federal executive agency responsible for safeguarding the American people, the

homeland, and national values from a wide range of threats, including by providing

grants to CPB and PBS Member Stations.

       15.     Defendant Kristi Noem is the Secretary of DHS. She is being sued in

her official capacity.

       16.     Defendant Federal Emergency Management Agency (“FEMA”) is a

federal executive agency within DHS responsible for safeguarding the American



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people before, during, and after disasters, including by providing grants to CPB and

PBS Member Stations.

       17.    Defendant David Richardson is the Senior Official Performing the

Duties of FEMA Administrator. He is being sued in his official capacity.

                            JURISDICTION AND VENUE

       18.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because the action arises under federal law, including the U.S.

Constitution, the Public Broadcasting Act of 1967, 47 U.S.C. §§ 396 et seq., and the

Administrative Procedure Act (“APA”), 5 U.S.C. §§ 551 et seq.

       19.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) and (e)(1)

because a substantial part of the events or omissions giving rise to the claims occurred

in this district and this action seeks relief against federal agencies and officials acting

in their official capacities.

                                    BACKGROUND

        A.    PBS and PBS Member Stations Fulfill the Goals Set Forth in the
              Public Broadcasting Act

       20.    PBS was formed in 1969 by local public television stations seeking to

leverage their combined resources and better serve their communities through public

television, as envisioned by the Public Broadcasting Act of 1967 (the “Act”). As

Congress found and declared in the Act, “it is in the public interest to encourage the

growth and development of public . . . television broadcasting, including the use of

such media for instructional, educational, and cultural purposes,” and to “encourage

the development of programming that involves creative risks and that addresses the


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needs of unserved and underserved audiences, particularly children and minorities.”

47 U.S.C. § 396(a)(1), (6). Congress recognized that “it furthers the general welfare

to encourage public telecommunications services which will be responsive to the

interests of people both in particular localities and throughout the United States,

which will constitute an expression of diversity and excellence,” and that the

“expansion and development of public telecommunications and of diversity of its

programming depend on freedom, imagination, and initiative on both local and

national levels.” Id. § 396(a)(3), (5). Congress determined that this “national policy”

of federal funding without federal control over content would “most effectively make

public telecommunications services available to all citizens of the United States.” Id.

§ 396(a)(7).

      21.      For more than a half-century, PBS and PBS Member Stations have

fulfilled that mission by providing commercial-free, educational television

programing and services that reflect the interests of the American people. Their

informative, enriching content is free to the public and available to nearly 97% of the

United States’ population, serving parts of the country not profitable for commercial

media.

      22.      The demographic composition of PBS’s audience mirrors the overall U.S.

population with respect to geography, income, education, race, and ethnicity. Sixty

percent of PBS viewers live outside of urban areas. The breakdown of viewers is

almost evenly split among Democrats, Republicans, and independents according to

an MRI-Simmons Fall 2024 Doublebase survey.



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      23.    PBS reaches more children, and more parents of young children, than

any other children’s television network. PBS KIDS is a dedicated children’s media

service that delivers free educational content via television and digital platforms,

including PBS Member Stations, the 24-hour PBS KIDS channel and live stream,

pbskids.org, and the PBS KIDS Video and Games apps. PBS KIDS averages 16

million monthly users and 350+ million monthly streams across digital platforms.

Similarly, PBS LearningMedia—a digital library of free assets, interactive videos,

media galleries, lesson plans, content from partners (like NASA, the Library of

Congress, and the Smithsonian), and other resources for teachers and students—

hosts nearly 1.5 million unique users on its website each month during the school

year. As academic studies have shown, PBS’s educational programming for children

is highly effective at improving math, science, and literacy skills, and has helped

millions of preschool-aged children prepare for and ultimately succeed in school.1 For

example, children who used PBS KIDS resources gained literacy skills equivalent to

1.5 months of classroom instruction. 2 Indeed, PBS is particularly vital to early-

childhood education in America because less than half of preschool-aged children

attend formal preschool.3


      1 See, e.g., Todd Grindal et al., Early Science and Engineering: The Impact of

The Cat in the Hat Knows a Lot About That! on Learning, EDUC. DEV. CTR., INC., &
SRI INT’L (2019), available at https://tinyurl.com/2444ruxh; Michelle Tiu et al., Odd
Squad: Learning math with PBS KIDS transmedia content at school and home,
WESTED (2015), available at https://tinyurl.com/3h73emfr.
       2 See Lisa B. Hurwitz, Getting a Read on Ready To Learn Media: A Meta-

analytic Review of Effects on Literacy, 90 CHILD DEV., 1754-1771 (2019).
       3   See Kids Count Data Center, THE ANNIE E. CASEY FOUND.,
https://tinyurl.com/2p9smce6 (last updated Mar. 2025).

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      24.    PBS also provides a broad array of iconic educational and cultural

programs for Americans of all ages. For example, PBS has offered landmark history

programs designed to educate viewers on American events and periods (e.g., Journey

to America: With Newt and Callista Gingrich, Chasing the Moon: The Road to Apollo,

and The Vietnam War, a Ken Burns and Lynn Novick film) and critically acclaimed

presidential documentaries (showcasing, for example, Ulysses S. Grant, Jimmy

Carter, and Ronald Reagan). In addition, PBS provides groundbreaking science and

natural history programs (e.g., NOVA and Nature) that support scientific

understanding and inspire the next generation of scientists and researchers. And

PBS has offered content on such varied topics as music and the arts (e.g., Austin City

Limits, Southern Storytellers, and Great Performances) and regional American

culinary traditions (e.g., The Great American Recipe, A Chef’s Life, and La Frontera

with Pati Jinich) that helps Americans better understand their neighbors,

communities, and country.

      25.    PBS’s in-depth public affairs programming, while comprising less than

10% of PBS’s broadcast schedule, is highly valued by viewers. PBS News Hour is the

only nightly hour-long television news program on a free broadcast (rather than cable)

network in the country, with a nightly audience of 2.1 million viewers in 2025.

Frontline, a long-form news and current affairs series, has won every major

journalism and broadcasting award, including 108 Emmy Awards, 31 Peabody

Awards, and a Pulitzer Prize. PBS’s new program, Breaking the Deadlock—the first

episode of which was introduced by Supreme Court Justices Amy Coney Barrett and



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Sonia Sotomayor—is a modern reimagining of PBS’s previously long-running Fred

Friendly Seminars. On Breaking the Deadlock, high-profile Americans from a wide

variety of ideological backgrounds work through hypothetical ethical dilemmas. As

another example, in Firing Line, host Margaret Hoover interviews leaders across the

political spectrum on pivotal issues facing Americans today. These programs and

other award-winning content bring the news to the American people, empowering

them with information and a range of viewpoints.

      26.   In addition to developing and acquiring content for distribution through

PBS Member Stations and other PBS platforms, PBS harnesses the resources it

receives from congressional appropriations (both directly and indirectly through PBS

Member Station dues) to serve as a vital source of support for PBS Member Stations.

For example, PBS manages the public television interconnection system—a 24/7/365

cloud-based, terrestrial broadband and satellite video distribution system among

PBS, PBS Member Stations, content distributors (e.g., American Public Television,

National Educational Television Association), and digital platforms—for the benefit

of PBS Member Stations.       PBS further supports PBS Members Stations by

negotiating distribution arrangements with national cable and satellite systems and

digital streaming platforms (e.g., YouTube TV, Amazon Prime Video), as well as by

representing the interests of PBS Member Stations in various regulatory proceedings.

And PBS supports PBS Member Stations through procurement and distribution of

proven on-air pledge programs, development training for local station staff, market

research and fundraising assets, national promotion of content, brand management,



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story and program amplification, audience insights and cross-platform data

monitoring, and continuing education for station managers and employees.            By

providing those and other services, PBS enables PBS Member Stations to leverage

economies of scale to optimize their programming and operations, and to achieve

savings they can reinvest in, among other things, producing local content, organizing

local screenings and events to bring their community together, and coordinating

emergency alert services with local public safety officials.

        27.   PBS also plays a critical role in public safety. The PBS Warning, Alert,

Response Network (“WARN”) ensures that public television stations meet the federal

mandate to provide a nationwide backup to the Wireless Emergency Alert system.

PBS receives wireless alerts directly from FEMA and transmits the alerts to public

television stations via the interconnection system.            Those stations, in turn,

disseminate the alerts over their broadcast transmitters. These alerts are available

to all cellular carriers to ensure their customers receive wireless emergency alerts,

even if the primary delivery method fails. PBS also operates the WARN website,

which is the only immediate source for validating a wireless emergency alert in real

time.

        28.   A recent survey of a politically representative sample of U.S. adults

(conducted by YouGov) showed that PBS is the number one most trusted institution

in the United States, as compared to video streaming services, commercial cable

television, news publications, commercial broadcast television, the federal




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government, Congress, courts of law, and social media platforms.4 The same survey

found that PBS is the most trusted news network. Ninety percent of parents agree

that PBS KIDS helps prepare children for success in school, and nearly the same

percentage of parents agree that PBS KIDS is a safe and trusted source for kids to

watch television and play digital games and apps. Seventy-six percent of respondents

believe PBS provides excellent value to the community, and a similar percentage

agree that having a strong public television system is important. Another recent

survey found that PBS is the least biased and most accurate source of news in the

United States.5

      29.   Lakeland PBS has been a PBS Member Station since it began operating

in 1979. Lakeland PBS currently holds two non-commercial, educational television

broadcast station licenses: KAWE in Bemidji, Minnesota and KAWB in Brainerd,

Minnesota. Through those stations, Lakeland PBS offers free content that is broadly

viewed by over 490,000 persons across approximately 7,500 square miles in northern

and central Minnesota. There are no towns or cities with a population greater than

20,000 people in Lakeland PBS’s service area, which includes some of the poorest

counties in Minnesota and several tribal reservations.

      30.   Like many PBS Member Stations, Lakeland PBS airs a combination of

local and national programming.




      4 See PBS, Trusted. Valued. Essential (2025), https://tinyurl.com/4mdknmjd

(describing results of YouGov survey conducted from January 6 to January 10, 2025).
       5 See Perceived Accuracy and Bias in the News Media, KNIGHT FOUND., at 15,

https://tinyurl.com/4snvz87u (last visited May 23, 2025).

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       31.      Lakeland PBS’s local programming includes Lakeland Learns, which

offers curriculum-aligned videos, interactives, lesson plans, and other resources for

community educators. In addition, Lakeland PBS produces Lakeland News, the

region’s only program covering local news, weather, and sports. Without Lakeland

PBS, many residents in its coverage area would have no access to television covering

local issues.

       32.      Lakeland PBS selects national programming from PBS based on the

needs and interests of the people in Lakeland PBS’s coverage area. Lakeland PBS

relies heavily on PBS’s roster of quality programs: 56% of programming on Lakeland-

Prime (Lakeland PBS’s main channel) comes from PBS, and 100% of programming

on Lakeland-PBS Kids (Lakeland PBS’s 24/7 educational channel) comes from PBS.

Beyond programming, Lakeland PBS relies on PBS for the broad range of support

services that PBS offers PBS Member Stations.

       B.       Congress Expressly Insulated PBS and PBS Members Stations
                from Political Interference

       33.      Congress took pains to ensure that the development of public television

would be free from political interference, including with respect to content and

funding decisions.

       34.      The Public Broadcasting Act instructs that the entity responsible for

“facilitat[ing] the development of public telecommunications”—CPB—shall be a

“private corporation” precisely “to afford maximum protection from extraneous

interference and control.” 47 U.S.C. § 396(a)(10) (emphasis added). To that end, the

Act states that CPB “will not be an agency or establishment of the United States


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Government.” Id. § 396(b). Similarly, the Act ensures that the nine members of the

CPB Board “shall not, by reason of such membership, be deemed to be officers or

employees of the United States,” id. § 396(d)(2), shall comprise “[n]o more than 5

members . . . of the same political party,” id. § 396(c)(1), and must “not [be] regular

full-time employees of the United States,” id. § 396(c)(2).

      35.    The Act also establishes a fund in the Treasury known as the “Public

Broadcasting Fund” to be administered by the Secretary of the Treasury, 47 U.S.C.

§ 396(k)(1)(A), and mandates several actions by the Secretary to ensure CPB receives

funding intended for public television providers such as PBS and PBS Member

Stations.

      36.    Specifically, the Act provides that the Secretary “shall make available

to [CPB]” appropriated funds. 47 U.S.C. § 396(k)(2)(A). The Act states that “[f]unds

appropriated” to CPB “shall remain available until expended.” Id. § 396(k)(1)(E).

And the Act instructs that “[f]unds appropriated and made available” “shall be

disbursed by the Secretary of the Treasury on a fiscal year basis.” Id. § 396(k)(2)(B).

      37.    Of the funding that the Secretary is required to disburse to CPB, the Act

provides that “75 percent” of such funds remaining after administrative and capital

costs “shall be allocated” for public television.      47 U.S.C. § 396(k)(3)(A)(i) &

(k)(3)(A)(ii). The 75% of CPB funding dedicated for public television, in turn, is

divided into two parts.

      38.    First, “75 percent of such amounts shall be available for distribution

among the licensees and permittees of public television stations.”          47 U.S.C.



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§ 396(k)(3)(A)(ii)(I). That funding occurs through “a basic grant” in “accordance with

eligibility criteria . . . that promote the public interest in public broadcasting, and on

the basis of a formula designed to . . . provide for the financial needs and requirements

of stations in relation to the communities and audiences such stations undertake to

serve.” Id. § 396(k)(6)(B). The funding should “maintain existing, and stimulate new,

sources of non-Federal financial support for stations by providing incentives for

increases in such support.” Id. § 396 (k)(6)(B)(ii).

      39.    Second, “25 percent of such amounts shall be available for

distribution . . . for national public television programming” in two further

subcategories. 47 U.S.C. § 396(k)(3)(A)(ii)(II). The first subcategory reserves funds

for “grants for production of public television” to certain categories of “entities outside

[CPB].” Id. § 396(k)(3)(B)(i), (ii). The second subcategory expressly gives PBS a role

in allocating funds, stating such funds “shall be available for distribution” “in

accordance with any plan implemented” after CPB “conduct[s] a study . . . in

consultation with public television licensees . . . and the Public Broadcasting Service,

on how funds available to [CPB] . . . can be best allocated to meet the objectives of

this chapter with regard to national public television programming.”                   Id.

§ 396(k)(3)(A)(ii)(II) & (k)(6)(A) (emphasis added).

      40.    In addition to the funds distributed as part of the Public Broadcasting

Fund, the Act provides that certain appropriations should be deposited into a Public

Broadcasting Satellite Interconnection Fund, also administered by the Secretary of

the Treasury. 47 U.S.C. § 396(k)(10). Such funds “shall be distributed by [CPB] to



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the licensees and permittees of noncommercial educational television broadcast

stations providing public telecommunications services or the national entity they

designate for satellite interconnection purposes, . . . exclusively for the capital costs

of the replacement, refurbishment, or upgrading of their national satellite

interconnection systems and associated maintenance of such systems.”                  Id.

§ 396(k)(10)(D).

      41.    Notably, “[c]ongressional experience with the Act following its passage

in 1967 . . . reaffirmed [Congress’s] commitment to preserving broad editorial

discretion for local stations” and resulted in “a firm congressional commitment to

develop[] long-range financing for public broadcasting to provide adequate insulation

against Government interference.” FCC v. League of Women Voters of Cal., 468 U.S.

364, 392 n.21 (1984) (internal quotation marks omitted). Congress realized that the

only way “[to ensure] strong local programming” was to mandate “unrestricted

support” via such financing. Id. (alteration in original). That practice “ha[s] been

carried forward in subsequent amendments to the Act.” Id.

      42.    To that end, the Act expressly states that the funds allocated to public

television stations “may be used at the discretion of the recipient for purposes related

primarily to the production or acquisition of programming.” 47 U.S.C. § 396(k)(7).

Likewise, CPB must “carry out its purposes and functions and engage in its activities

in ways that will most effectively assure the maximum freedom of the public

telecommunications entities and systems from interference with, or control of,

program content or other activities.” Id. § 396(g)(1)(D). In “facilitat[ing] the full



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development of public telecommunications in which programs of high quality,

diversity, creativity, excellence, and innovation, which are obtained from diverse

sources, will be made available to public telecommunications entities,” id.

§ 396(g)(1)(A), CPB is required to “adhere strictly to a standard of ‘objectivity and

balance’ in disbursing federal funds to local stations,” League of Women Voters, 468

U.S. at 389 (quoting 47 U.S.C. § 396(g)(1)(A)).

      43.    The federal government’s role is even more limited. In a provision of the

Act entitled “Federal interference or control,” Congress set forth a “Prohibition” that

no “department, agency, officer, or employee of the United States” may “exercise any

direction, supervision, or control over public telecommunications, or over [CPB] or

any of its grantees.” 47 U.S.C. § 398(a) (emphasis added). Another provision confirms

that “[n]othing in this section shall be construed to authorize any department, agency,

officer, or employee of the United States to exercise any direction, supervision, or

control over the content or distribution of public telecommunications programs and

services.” Id. § 398(c) (emphases added).

      44.    Congress explained its reasons for structuring the Act to protect public

television programming and services against federal interference. The House Report

accompanying the Act acknowledged that the federal government would “provide a

source of funds to pay part of the cost of educational broadcasting.” H.R. REP. NO. 90-

572, at 15 (1967), as reprinted in 1967 U.S.C.C.A.N. 1799, 1805. But the House

Report was resolute that the federal government should “not control the final product.”

Id. To prevent that from happening, “funds for programs should not be provided



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directly by the Federal Government.” Id. Rather, the funds would be disbursed by

CPB—“a nonprofit Corporation, directed by a Board of Directors, none of whom will

be Government employees, [to] provide the most effective insulation from Government

control or influence over the expenditure of funds.” Id. (emphasis added).

      45.    The Senate Report accompanying the Act was even more emphatic. It

recognized that, although “Federal financial assistance is required to provide the

resources necessary for quality programs,” “this assistance should in no way involve

the Government in programming or program judgments.” S. REP. NO. 90-222, at 4,

11 (1967), as reprinted in 1967 U.S.C.C.A.N. 1772, 1775. Thus, the Senate Report

concluded, an “independent entity supported by Federal funds is required to provide

programs free of political pressures.” Id. (emphasis added). And lest its intent be

missed, the Senate Report further expressed a “wish to state in the strongest terms

possible that it is our intention that local stations be absolutely free to determine for

themselves what they should or should not broadcast.” Id. at 1782 (emphases added).

      46.    The Supreme Court has long recognized Congress’s objectives in the Act:

      When Congress first decided to provide financial support for the
      expansion and development of noncommercial educational stations, all
      concerned agreed that this step posed some risk that these traditionally
      independent stations might be pressured into becoming forums devoted
      solely to programming and views that were acceptable to the Federal
      Government. That Congress was alert to these dangers cannot be
      doubted. It sought through the Public Broadcasting Act to fashion a
      system that would provide local stations with sufficient funds to foster
      their growth and development while preserving their tradition of
      autonomy and community-orientation.

League of Women Voters, 468 U.S. at 386-387 (emphases added) (citation omitted).




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      47.    The Supreme Court also recounted how Congress achieved that goal.

First, the Act’s “elaborate structure”—including CPB’s “private, bipartisan structure”

and the “variety of important limitations on its powers”—“operates to insulate local

stations from governmental interference.” 468 U.S. at 388-389. Second, the Act

“protect[s] the stations from governmental coercion and interference” through

express prohibitions against federal government interference with programming

decisions, as well as through “long-term appropriations” that “give [local stations]

greater autonomy in defining the uses to which those funds should be put.” Id. at

389-390.

      48.    “[T]he unifying theme of these various statutory provisions is that they

substantially reduce the risk of governmental interference with the editorial

judgments of local stations without restricting those stations’ ability to speak on

matters of public concern.” 468 U.S. at 390.

      C.     The President Targets PBS and PBS Member Stations, and
             Ultimately Issues an Executive Order Attempting to Defund PBS

      49.    Despite the Act’s intended insulation of PBS and public television

broadcasters from political pressure, the President has waged a campaign against

PBS based on his disagreement with the purported views expressed through its

programs and editorial decisions—culminating in the issuance of the EO.

      50.    On April 1, 2025, on his Truth Social account, the President posted:

“REPUBLICANS         MUST      DEFUND          AND    TOTALLY       DISASSOCIATE

THEMSELVES FROM NPR & PBS, THE RADICAL LEFT ‘MONSTERS’ THAT SO




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BADLY HURT OUR COUNTRY!” Donald J. Trump (@realDonaldTrump), TRUTH

SOCIAL (Apr. 1, 2025, 4:17 PM) (the “Truth Social Post”).6

      51.       On April 14, 2025, the White House published a statement alleging that

PBS has “spread radical, woke propaganda disguised as ‘news.’” The NPR, PBS Grift

Has Ripped Us Off for Too Long, THE WHITE HOUSE (Apr. 14, 2025) (the “White House

Statement”). 7     In addition to targeting National Public Radio, the Statement

proclaims that “taxpayer funding of . . . PBS’s biased content is a waste.” Id. As

examples of such purported waste—or what the White House refers to as “trash that

passes for ‘news’ at . . . PBS”—the Statement points to, among other things:

               a 2024 documentary allegedly “making the case for reparations”;

               a 2023 Washington Week roundtable that allegedly “covered up Joe

                Biden’s clear mental decline, with far-left ‘journalist’ Jeff Goldberg

                claiming Biden is actually ‘quite acute’”;

               a 2021 children’s program that “featured a drag queen”;

               a 2020 town hall featuring Sesame Street allegedly “aimed [at]

                presenting children with a one-sided narrative to ‘address racism’ amid

                the Black Lives Matter riots”;

               a 2017 panel allegedly “devoted to what it ‘mean[s] to be woke’ and

                ‘white privilege’”; and




      6 https://tinyurl.com/ydytaf8z.

      7 https://tinyurl.com/2pt9hcnx.


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               a 2017 film which purportedly “celebrat[ed] a transgender teenager’s so-

                called ‘changing gender identity.’”

Id. (emphasis omitted). PBS disputes those examples and assertions as inaccurate—

and misrepresentative of the variety of PBS programming discussed above.

      52.       The White House Statement also alleges that PBS has “zero tolerance

for non-leftist viewpoints.” White House Statement (emphasis omitted). As examples,

the Statement points to:

               a 2023 “study” which allegedly “found that congressional Republicans

                saw 85% negative coverage while congressional Democrats saw 54%

                positive coverage on PBS’s flagship news program”;

               a 2024 “study” allegedly showing “PBS news staff used 162 variations of

                the term ‘far-right,’ but only six variations of ‘far-left’”; and

               a 2024 “Media Research Center study” which allegedly found that

                “PBS’s coverage of the Republican National Convention was 72%

                negative, while coverage of the Democratic National Convention was 88%

                positive.”

Id. Once again, PBS disputes these cherry-picked “studies,” which are inaccurate

and misrepresent the balanced range of viewpoints presented on PBS programs.

      53.       Also on April 14, 2025, several news outlets reported that the White

House was planning to request from Congress a “rescission” of PBS funding under

the Congressional Budget and Impoundment Control Act of 1974, 2 U.S.C. §§ 681 et




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seq. (the “ICA”). 8 The President, however, has not transmitted the statutorily

required “special message” to Congress formally requesting rescission under the ICA.

Id. § 683(a).

        54.     Instead, the President acted unilaterally and issued the EO on May 1,

2025.

        55.     The EO begins by proclaiming that, “[u]nlike in 1967,” when the Act was

enacted, “today the media landscape is filled with abundant, diverse, and innovative

news options,” and therefore, “[g]overnment funding of news media . . . is not only

outdated and unnecessary but corrosive to the appearance of journalistic

independence.” EO § 1.

        56.     The EO then asserts that CPB “fails to abide by” the principles of

“impartiality” reflected in the Act “to the extent it subsidizes . . . PBS.” EO § 1. The

EO purports to take the position that “[w]hich viewpoints . . . PBS promote[s] do[] not

matter.” Id. But in the next sentence, the EO declares that what “does matter” is

that PBS “presents a fair, accurate, or unbiased portrayal of current events to

taxpaying citizens.” Id.

        57.     Based on its assertions of bias, the EO then “instruct[s]” the CPB Board

and “all executive departments and agencies” to “cease Federal funding for . . . PBS.”

EO § 1.



        8 See Jennifer Scholtes & Megan Messerly, White House to Send Congress a

Formal Request to Nix $9.3B for PBS, NPR, State Department, POLITICO (Apr. 14,
2025), https://tinyurl.com/3yts7529; Benjamin Mullin et al., White House to Ask
Congress to Claw Back Funding from NPR and PBS, THE N.Y. TIMES (Apr. 14, 2025),
https://tinyurl.com/ydsda2fz.

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               (a) The CPB Board shall cease direct funding to . . . PBS,
               consistent with my Administration’s policy to ensure that Federal
               funding does not support biased and partisan news coverage. The
               CPB Board shall cancel existing direct funding to the maximum
               extent allowed by law and shall decline to provide future funding.

               (b) The CPB Board shall cease indirect funding to . . . PBS,
               including by ensuring that licensees and permittees of public . . .
               television stations, as well as any other recipients of CPB funds,
               do not use Federal funds for . . . PBS.

Id. § 2.

       58.     “To effectuate this directive,” the EO directs the CPB Board to revise the

“2025 Television Community Service Grants General Provisions and Eligibility

Criteria,” under which PBS Member Stations receive federal funds, to “prohibit direct

or indirect funding of . . . PBS” by June 30, 2025. EO § 2; see also CPB, 2025 Television

Community Service Grants General Provisions and Eligibility Criteria (updated Apr.

2025).9 The EO also directs the CPB Board, “[t]o the extent permitted by the 2024

Television Community Service Grants General Provisions and Eligibility Criteria”

and “applicable law,” to “prohibit parties subject to these provisions from funding . . .

PBS after the date of [the EO].” EO § 2; see also CPB, 2024 Television Community

Service Grants General Provisions and Eligibility Criteria (Jan. 2024).10

       59.     Lastly, the EO instructs the “heads of all agencies” to “identify and

terminate, to the maximum extent consistent with applicable law, any direct or

indirect funding of . . . PBS.” EO § 3.




       9 https://tinyurl.com/yc33frc6.

       10 https://tinyurl.com/2993ecwe.


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       60.   To support the EO, the President contemporaneously published a

document styled as a “Fact Sheet” (the “EO Fact Sheet”). 11 The EO Fact Sheet

accuses PBS of having “fueled partisanship and left-wing propaganda with taxpayer

dollars, which is highly inappropriate and an improper use of taxpayers’ money.” EO

Fact Sheet. The EO Fact Sheet includes the same misleading assertions as the White

House Statement. See id.

       61.   On May 2, 2025, the day after the EO issued, ED sent notice to CPB that

it was terminating a federal award under which CPB had granted PBS $78 million

to develop and distribute “Ready to Learn” educational content for children. See

Exhibit A (the “ED Termination Notice”). The ED Termination Notice states that ED

has:

       undertaken a review of grants and determined that the grant [to CPB]
       provides funding for programs that reflect the prior Administration’s
       priorities and policy preferences and conflict with those of the current
       Administration, in that the programs: violate the letter or purpose of
       Federal civil rights law; conflict with the Department’s policy of
       prioritizing merit, fairness, and excellence in education; undermine the
       well-being of the students these programs are intended to help; or
       constitute an inappropriate use of federal funds.

ED Termination Notice at 1. A spokesperson for ED explained its view “that the

Ready to Learn grants”—which were used to support programs like Sesame Street,

Reading Rainbow, and Clifford the Big Red Dog—“were funding ‘racial justice

education programming,’” as well as “divisive ideologies and woke propaganda.”12


       11 Fact Sheet:
                    President Donald J. Trump Ends the Taxpayer Subsidization of
Biased Media, THE WHITE HOUSE (May 1, 2025), https://tinyurl.com/ymnewhh6.
      12 Benjamin Mullin et al., Department of Education Eliminates Grant for PBS

Children’s Shows, THE N.Y. TIMES (May 6, 2025), https://tinyurl.com/2fjz37ev.

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      62.    For its part, CPB has taken the position that it is “not a federal executive

agency subject to the President’s authority. Congress directly authorized and funded

CPB to be a private nonprofit corporation wholly independent of the federal

government.”13 The President, however, has attempted to remove three of the five

members of the CPB board (which otherwise has four vacancies). CPB’s lawsuit

challenging the purported removal remains pending. See generally Corporation for

Pub. Broad. v. Trump, No. 1:25-cv-1305 (D.D.C.).

      D.     The EO Will Significantly Harm PBS and PBS Member Stations

      63.    If left intact, the EO will cause substantial harm to PBS and PBS

Member Stations. The EO directs the cancellation of all federal funding for PBS. It

also conditions federal funding to PBS Member Stations on their decision not to

provide any portion of that funding to PBS. Without congressionally appropriated

funds granted by CPB and certain federal agencies, PBS and PBS Member Stations

will be unable to fulfill the goals set forth in the Act, to the detriment of communities

across the country.

      64.    PBS depends on federal funding for its operation. For 2025, PBS has a

budget of $373.4 million. PBS Member Station dues comprise 61% of that budget

($227 million). CPB grants comprise another 16% ($59.8 million). Other federal

grants comprise 6% ($20.7 million).

      65.    Public television stations receive approximately $325 million in annual

federal funding from CPB, nearly all of which goes to PBS Member Stations. Those


      13 CPB, Corporation for Public Broadcasting Statement Regarding Executive

Order on Public Media (May 2, 2025), https://tinyurl.com/2wkyfub6.

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funds, which comprise more than 50% of the overall budgets of certain PBS Member

Stations, are instrumental to enabling them to operate, to produce programming that

serves their local communities, and to pay PBS dues that make PBS programming

and services possible.

      66.      Accordingly, the EO jeopardizes a considerable portion of PBS’s 2025

budget: the 22% that comes directly from CPB and certain federal agencies, and the

61% that comes from PBS Member Station dues, which includes millions of dollars in

federal funds.

      67.      The EO also purports to cancel all PBS federal funding for Fiscal Years

2026 and 2027, which has already been appropriated by Congress into the Public

Broadcasting Fund. See Further Consolidated Appropriations Act, 2024, Pub. L. No.

118-47, 138 Stat. 460, 696; Full-Year Continuing Appropriations and Extensions Act,

2025, Pub. L. No. 119-4, §§ 1112, 1113, 139 Stat. 9, 14-15; 47 U.S.C. § 396(k)(1)(A).

      68.      In total, the EO threatens or outright eliminates millions of dollars in

annual funding for PBS on a going forward basis, comprising (based on fiscal year

2025 numbers, at least) $81 million per year in federal grants and a substantial

portion of the $227 million per year that PBS Member Stations pay in the form of

dues to PBS.

      69.      Given the EO’s drastic impact on PBS’s budget for 2025 and beyond, the

EO will negatively affect both the programming that PBS is able to fund and acquire

and the services that PBS provides to PBS Member Stations.




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      70.    The EO would immediately strip $24.7 million in federal funding for

PBS that is committed and unpaid (in addition to the $13.3 million “Ready to Learn”

grant that ED has already purported to terminate). That amount includes $17.7

million for PBS’s National Programming Service. The loss of those funds would

disrupt program production and existing contractual obligations for many PBS

programs that PBS Member Stations air.

      71.    The EO would also impair PBS’s ability to provide essential support

services to PBS Member Stations.         Those services range from distribution

infrastructure and a content delivery system to fundraising support, cybersecurity

education and training, access to emergency information and alerts, and beyond.

      72.    The programming and services provided by PBS to PBS Member

Stations are not readily (or affordably) available from other sources. The disruption

to PBS programming would thus constrain PBS Member Stations’ programming

choices. And because PBS Member Stations rely on the host of other services that

PBS provides, any harm to those services resulting from PBS’s diminished funding

will harm PBS Member Stations in turn. The loss or limitation of such services will

require PBS Member Stations to devote substantial portions of their budget,

personnel, and focus to alternatives—to the extent such alternatives exist.

      73.    Because many PBS Member Stations rely heavily on federal funding (in

some cases over 50% of their overall budgets), the EO’s prohibition on providing

federal funds to PBS will preclude many PBS Member Stations from continuing to

access critical resources made possible by the pooling of resources via PBS dues. See



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EO § 2. Other PBS Member Stations will need to choose between revamping their

budgets to shift money from other areas to cover PBS dues (and maintaining the

quality of the programming and services that those dues provide for) or ceasing to be

PBS Member Stations. Because other funds (e.g., from donors and private grants)

are often earmarked for specified purposes or otherwise restricted, many PBS

Member Stations cannot easily (if at all) allocate other funds to cover PBS dues. And

because there is no other comparable source of programming or services for PBS

Member Stations, many will suffer both in their finances and in their mission of

delivering quality programming and services to the public—particularly smaller

stations and those in rural areas. Indeed, some PBS Member Stations may be forced

to cease operation.

      74.    Lakeland PBS is a prime example of a PBS Member Station that will be

negatively impacted by the EO.

      75.    The EO’s prohibition on direct federal funding for PBS, and the resulting

damage to PBS content and services, would significantly harm Lakeland PBS.

Lakeland PBS relies heavily on PBS content, which makes up the vast majority of its

programming. If Lakeland PBS’s access to PBS content is limited or eliminated,

Lakeland PBS would be unable to identify and acquire comparable replacement

programming, if at all, without a substantial disruption to its broadcasting. Lakeland

PBS also relies on PBS for many services to support its operations, including

fundraising services, that Lakeland PBS could not obtain individually.           Any




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degradation of PBS’s member services will therefore significantly impair Lakeland

PBS’s ability to serve its local viewers and secure financial support.

      76.    Lakeland PBS will also be severely impacted by the EO’s prohibition on

federal funds reaching PBS indirectly. Lakeland PBS operates on an annual budget

of $2.7 million (based on 2025 numbers). Of that amount, roughly $1 million, or 37%,

comes from federal grants awarded by CPB. Nearly that entire amount is from a

single annual Community Service Grant (CSG), the funds from which are restricted

to certain categories of expenses. Lakeland PBS currently pays the entirety of its

annual PBS dues—$421,832 for fiscal year 2025 and an estimated $400,697 for fiscal

year 2026—using CSG funds.

      77.    Non-federal grants, donations, and other funds that must be spent for

specified purposes, not including PBS dues, comprise roughly $1,075,000, or 40%, of

Lakeland PBS’s budget.

      78.    The remaining $625,000, or 23%, of Lakeland PBS’s budget is

unrestricted revenue from a variety of sources, such as paid local registered-viewer

benefits and local underwriting (i.e., sponsorships for shows). But Lakeland PBS

cannot simply use those funds to cover PBS dues. Given the relatively low amount

of the unrestricted budget and the restrictions on federal and other funds, Lakeland

PBS would be faced with a shortfall in attempting to cover expenses that were

previously paid out of unrestricted funds.

      79.    If Lakeland PBS could somehow find a way to pay PBS dues despite the

indirect funding bar, Lakeland PBS would still suffer substantial harm.         The



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unrestricted portion of Lakeland PBS’s budget—unlike the federal grant from which

it currently pays PBS dues—is subject to business and economic risks, such that

Lakeland PBS would lack any sure way to pay PBS dues. Indeed, Lakeland PBS’s

sponsorship revenue has declined more than 5% over the past ten years. And despite

strenuous efforts, Lakeland PBS has found it increasingly difficult to obtain local

foundation grants for operations. Thus, it is exceedingly unlikely that Lakeland PBS

will be able to reliably cover its PBS dues using non-federal funds. Regardless,

Lakeland PBS would have to expend valuable resources determining how to

reallocate its entire budget to cover its PBS dues while minimizing losses in other

areas (if possible).

       80.      If unable to pay its PBS dues, Lakeland PBS would be unable to use any

PBS content and services. Lakeland PBS cannot readily or affordably replace such

content and services. The EO’s indirect funding bar thus poses an existential threat

to Lakeland PBS, the only local source of television programming for hundreds of

thousands of Minnesotans.

                                  CAUSES OF ACTION

                                         COUNT I

                                Ultra Vires Conduct:
                       Unlawful Interference in Violation of Act
                              (Against All Defendants)

       81.      All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

       82.      The Supreme Court has repeatedly allowed equitable relief against

federal officials, including the President, who act “beyond th[e] limitations” imposed

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by federal statute. Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).

“When an executive acts ultra vires, courts are normally available to reestablish the

limits on his authority.” Chamber of Com. of U.S. v. Reich, 74 F.3d 1322, 1328 (D.C.

Cir. 1996). “Congress can and often does cabin the discretion it grants the President

and it remains the responsibility of the judiciary to ensure that the President act

within those limits.” American Forest Res. Council v. United States, 77 F.4th 787,

797 (D.C. Cir. 2023); see also Mountain States Legal Found. v. Bush, 306 F.3d 1132,

1136 (D.C. Cir. 2002) (“Courts remain obligated to determine whether statutory

restrictions have been violated.”).

      83.    The President’s “instruct[ion]” in the EO that “the CPB Board of

Directors . . . and all executive departments and agencies . . . cease Federal funding

for . . . PBS,” EO § 1, and ED’s subsequent issuance of the ED Termination Notice,

are contrary to law and outside of Defendants’ authority.

      84.    As a threshold matter, the President lacks the authority to compel CPB

and its Board to take particular actions. As Congress made clear, CPB—a “private

corporation”—is “not . . . an agency or establishment of the United States

Government.” 47 U.S.C. § 396(a)(10), (b). Likewise, the members of the CPB Board

“shall not, by reason of such membership, be deemed to be officers or employees of

the United States.” Id. § 396(d)(2).

      85.    Accordingly, the President’s directives to CPB were not promulgated

pursuant to any “authority to act . . . stem[ming] either from an act of Congress or




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from the Constitution itself,” and thus lack the force of law. Medillín v. Texas, 552

U.S. 491, 524 (2008) (internal quotation marks omitted).

       86.      In addition, the Act expressly forbids “any department, agency, officer,

or employee of the United States to exercise any direction, supervision, or control over

public telecommunications, or over [CPB] or any of its grantees . . . or over . . . any . . .

public telecommunications entity.” 47 U.S.C. § 398(a). Congress underscored that

nothing in the Act shall be “construed to authorize any department, agency, officer,

or employee of the United States to exercise any direction, supervision, or control over

the content or distribution of public telecommunications programs and services.” Id.

§ 398(c).

       87.      The EO runs afoul of those provisions by instructing that “[t]he CPB

Board shall cease direct funding to . . . PBS”; “shall cancel existing direct funding to

the maximum extent allowed by law and shall decline to provide future funding”;

“shall cease indirect funding to . . . PBS, including by ensuring that licensees and

permittees of public radio and television stations, as well as any other recipients of

CPB funds, do not use Federal funds for . . . PBS”; and “shall take all other necessary

steps to minimize or eliminate its indirect funding of . . . PBS.” EO § 2. The EO is

explicit that the government is undertaking those actions to “determine which

categories of [news] activities to subsidize” and to provide, in the President’s view, “a

fair, accurate, or unbiased portrayal of current events.” Id. § 1. In other words, the

EO seeks to provide direction, supervision, and control over PBS Member Stations,

including with respect to the content and distribution of their programs and services.



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      88.    Further still, the EO effectively end-runs the “protections which serve

to protect . . . stations from governmental coercion and interference,” including

through “long-term appropriations” that “give [local stations] greater autonomy in

defining the uses to which those funds should be put.” League of Women Voters, 468

U.S. at 389-390.      Specifically, the Act “strictly define[s] the percentage of

appropriated funds that must be disbursed by [CPB] to local stations, § 396(k)(3)(A)-

(B),” and “define[s] objective criteria under which local television and radio stations

receive basic grants from [CPB] to be used at the discretion of the station,

§§ 396(k)(6)(A)-(B), 396(k)(7).” Id. at 389.

      89.    Notably, the President contemplated attempting a formal rescission of

funds to PBS and PBS Member Stations under the ICA. See ¶ 53, supra. But rather

than engaging in that process, which preserves the separation of powers with respect

to congressional appropriations, the President acted unilaterally to purport to force

CPB and other federal actors to alter the decades-long flow of funds to PBS and

eliminate PBS Member Stations’ statutorily protected discretion as to how best to use

federal funds to effectuate the goals of the Act.

      90.    The first sentence of the EO makes plain that the President is

attempting to circumvent Congress. The EO begins by declaring that the reasons

motivating Congress to enact the Act, “[u]nlike in 1967,” do not apply today. EO § 1.

But whether the Act remains good policy is for Congress—which has consistently

appropriated funds pursuant to the Act—to decide.




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                                        COUNT II

             Violation of the First Amendment, U.S. Const. amend. I:
                            Viewpoint Discrimination
                             (Against All Defendants)

       91.      All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

       92.      This Court has inherent equitable power to enjoin unconstitutional

executive conduct. See Free Enter. Fund v. Public Co. Acct. Oversight Bd., 561 U.S.

477, 491 n.2 (2010).         “The ability to sue to enjoin unconstitutional actions

by . . . federal officers is the creation of courts of equity, and reflects a long history of

judicial review of illegal executive action, tracing back to England.” Armstrong v.

Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015).

       93.      “[A]s a general matter, . . . government has no power to restrict

expression because of its message, its ideas, its subject matter, or its content.” Brown

v. Entertainment Merchs. Ass’n, 564 U.S. 786, 790-791 (2011) (alteration and ellipsis

in original).    Indeed, “[d]iscrimination against speech because of its message is

presumed to be unconstitutional.” Rosenberger v. Rector & Visitors of Univ. of Va.,

515 U.S. 819, 828 (1995).

       94.      “When the government targets not subject matter, but particular views

taken by speakers on a subject, the violation of the First Amendment is all the more

blatant.”    Rosenberger, 515 U.S. at 828.        “Viewpoint discrimination is thus an

egregious form of content discrimination,” and “[t]he government must abstain from

regulating speech when the specific motivating ideology or the opinion or perspective

of the speaker is the rationale for the restriction.” Id. at 829.

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      95.    Although “viewpoint-based funding decisions can be sustained in

instances in which the government is itself the speaker, or instances . . . in which the

government used private speakers to transmit specific information pertaining to its

own program,” this “latitude which may exist for restrictions on speech where the

government’s own message is being delivered” does not apply when the government

“instead expends funds to encourage a diversity of views from private speakers.”

Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 541-542 (2001) (citations and internal

quotation marks omitted); see also id. at 544 (invalidating a “substantial restriction”

on “private, nongovernmental speech” that the federal “program presume[d] . . . is

necessary”). When a government “program [i]s designed to facilitate private speech,

not to promote a governmental message,” id. at 542, the Supreme Court has

repeatedly “reaffirmed the requirement of viewpoint neutrality in the Government’s

provision of financial benefits,” and the government may not rely on “distinction[s]

based on the content or messages of . . . speech,” Rosenberger, 515 U.S. at 834.

      96.    The Act is a quintessential example of the government expending funds

to “encourage a diversity of views” rather than to convey its own message. After all,

the Act’s express purpose is to provide funding for public broadcasting while

“afford[ing] maximum protection from extraneous interference and control,”

including by the federal government. 47 U.S.C. § 396(a)(10); see also id. § 398(a)

(affirming that no “department, agency, officer, or employee of the United States [may]

exercise any direction, supervision, or control over public telecommunications, or over

[CPB]”). Congress recognized that federal financial assistance “should in no way



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involve the Government in programming or program judgments” (or in “the

expenditure of funds”). League of Women Voters, 468 U.S. at 386 n.17.

      97.    The President’s “instruct[ion]” in the EO that “the CPB Board of

Directors . . . and all executive departments and agencies . . . cease Federal funding

for . . . PBS” immediately, including with respect to already appropriated funds,

violates the First Amendment by unconstitutionally discriminating against PBS

based on PBS’s perceived viewpoint. EO § 1.

      98.    The President’s additional “[i]nstruction[]” in the EO that “[t]he CPB

Board . . . cease indirect funding to . . . PBS, including by ensuring that licensees and

permittees of public . . . television stations, as well as any other recipients of CPB

funds, do not use Federal funds for . . . PBS”—by revising the CSG criteria for 2025

and even for 2024, and by “tak[ing] all other necessary steps to minimize or eliminate

its indirect funding of . . . PBS”—likewise violates the First Amendment by

unconstitutionally discriminating based on PBS’s viewpoint. EO § 2.

      99.    The same is true of the President’s further instruction that “[t]he heads

of all agencies shall identify and terminate, to the maximum extent consistent with

appliable law, any direct or indirect funding of . . . PBS.” EO § 3.

      100.   Plaintiffs are private entities entitled to First Amendment protection.

      101.   Plaintiffs have engaged in activity protected by the First Amendment,

including the production and distribution of children’s educational programming and

public affairs programming.




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      102.      By purporting to unilaterally cut off all existing and future appropriated

CPB funding to PBS on the basis that the President believes PBS provides “biased

and partisan news coverage” and fails to “present[] a fair, accurate, [and] unbiased

portrayal of current events to taxpaying citizens,” the EO discriminates against

Plaintiffs based on perceived viewpoint and thus violates their First Amendment

rights. EO §§ 1, 2.

      103.      The Truth Social Post, the White House Statement, and the EO Fact

Sheet confirm that the President targeted PBS specifically because he disagreed with

the content and viewpoint of its speech.          See Truth Social Post; White House

Statement; EO Fact Sheet.


                                        COUNT III

             Violation of the First Amendment, U.S. Const. amend. I:
                               Editorial Discretion
                             (Against All Defendants)

      104.      All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

      105.      The “expression of editorial opinion” “lies at the heart of First

Amendment protection.” League of Women Voters, 468 U.S. at 381. The “special place

of the editorial” in First Amendment jurisprudence “simply reflects the fact that the

press, of which the broadcasting industry is indisputably a part, carries out a historic,

dual responsibility in our society of reporting information and of bringing critical

judgment to bear on public affairs.” Id. at 382 (citation omitted). “[T]he government

cannot get its way just by asserting an interest in improving, or better balancing, the


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marketplace of ideas.” Moody v. NetChoice, LLC, 603 U.S. 707, 732 (2024). “However

imperfect the private marketplace of ideas, . . . a worse proposal [is] the government

itself deciding when speech [is] imbalanced.” Id. at 733.

      106.   Plaintiffs are private entities entitled to First Amendment protection,

including as entities engaged in the production and distribution of television media.

      107.   The President’s “instruct[ion]” in the EO that “the CPB Board of

Directors . . . and all executive departments and agencies . . . cease Federal funding

for . . . PBS” due to PBS’s “portrayal of current events to taxpaying citizens” violates

the First Amendment by interfering with Plaintiffs’ editorial discretion. EO § 1.

      108.   The President’s additional “[i]nstruction[]” in the EO that “[t]he CPB

Board . . . cease indirect funding to . . . PBS, including by ensuring that licensees and

permittees of public . . . television stations, as well as any other recipients of CPB

funds, do not use Federal funds for . . . PBS” likewise violates the First Amendment

by interfering with Plaintiffs’ editorial discretion. EO § 2.

      109.   The same is true of the President’s further instruction that “[t]he heads

of all agencies shall identify and terminate, to the maximum extent consistent with

appliable law, any direct or indirect funding of . . . PBS.” EO § 3.

      110.   Specifically, through those instructions, the EO openly engages in

impermissible balancing by stating that the federal subsidization of PBS must cease

in order to provide “fair, accurate, or unbiased portrayal of current events.” EO § 1.

In support of the assertion that PBS does not provide such coverage, the EO Fact

Sheet criticizes several decisions to disseminate certain programming on issues of



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public concern, and cites statistics showing a supposed disparity in news coverage of

political parties. See ¶¶ 51-52, 60, supra. That is an effort to “silence[] . . . editorial

speech.” League of Women Voters, 468 U.S. at 398.

                                        COUNT IV

             Violation of the First Amendment, U.S. Const. amend. I:
                            Unconstitutional Condition
                             (Against All Defendants)

      111.      All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

      112.      The government cannot “deny a benefit . . . on a basis that infringes

[one’s] constitutionally protected interests—especially, [one’s] interest in freedom of

speech.” Perry v. Sindermann, 408 U.S. 593, 597 (1972). Within the grant context,

the government cannot “seek to leverage funding to regulate speech outside the

contours of the federal program itself.” Agency for Int’l Dev. v. Alliance for Open Soc’y

Int’l, Inc., 570 U.S. 205, 206 (2013). That is, the government cannot “compel[] a grant

recipient to adopt a particular belief as a condition of funding.” Id. at 218.

      113.      The President’s “[i]nstructions” in the EO to CPB to “cease indirect

funding” to PBS “by ensuring that licensees and permittees of public . . . television

stations, as well as any other recipients of CPB funds, do not use Federal funds for . . .

PBS,” and to “[t]he heads of all agencies” to “identify and terminate, to the maximum

extent consistent with applicable law, any . . . indirect funding of . . . PBS,” violates

the First Amendment by placing an unconstitutional condition on funding for PBS

Member Stations. EO §§ 2, 3.



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      114.   PBS and PBS Member Stations are private entities entitled to First

Amendment protection.

      115.   PBS Member Stations’ choices to use congressionally appropriated

funding for PBS membership dues, which fund the creation and distribution of

programming that PBS Member Stations broadcast, is protected by the First

Amendment.

      116.   Defendants    have    placed     an   unconstitutional   condition   on

congressionally appropriated funding for PBS Member Stations by instructing the

CPB Board to revise the guidelines and eligibility criteria under which PBS Member

Stations receive grants of federal funds to prohibit funding PBS.       In doing so,

Defendants seek to leverage congressionally appropriated funding to regulate speech

outside the contours of the Act. Because PBS Member Stations must pay dues to

access PBS programming, and because prohibiting the use of federal funding to pay

dues would preclude access to PBS programming for many PBS Member Stations,

the EO’s restriction dictates the programming PBS Member Stations can air more

broadly. Accordingly, the restriction is a means by which the government is engaged

in unconstitutional viewpoint discrimination, interference with editorial discretion,

and interference with freedom of the press.




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                                        COUNT V

             Violation of the First Amendment, U.S. Const. amend. I:
                                    Retaliation
                             (Against All Defendants)

      117.      All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

      118.      “[T]he First Amendment bars retaliation for protected speech.”

Crawford-El v. Britton, 523 U.S. 574, 592 (1998). “A government official can share

her views freely and criticize particular beliefs, and she can do so forcefully in the

hopes of persuading others to follow her lead,” but “[w]hat she cannot do . . . is use

the power of the State to punish or suppress disfavored expression.” National Rifle

Ass’n of Am. v. Vullo, 602 U.S. 175, 188 (2024) (citation omitted).                  Such

unconstitutional retaliation occurs where a person “engage[s] in conduct protected

under the First Amendment,” the government “t[akes] some retaliatory action

sufficient to deter a person of ordinary firmness in plaintiff’s position from speaking

again,” and there is a “causal link” between the protected First Amendment activity

and “the adverse action taken against” the person. Aref v. Lynch, 833 F.3d 242, 258

(D.C. Cir. 2016).

      119.      The President’s “instruct[ion]” in the EO that “the CPB Board of

Directors . . . and all executive departments and agencies . . . cease Federal funding

for . . . PBS,” and ED’s subsequent issuance of the ED Termination Notice, violates

the First Amendment by unconstitutionally retaliating against PBS based on PBS’s

protected speech. EO § 1.



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       120.   The President’s additional “[i]nstruction[]” in the EO that “[t]he CPB

Board . . . cease indirect funding to . . . PBS, including by ensuring that licensees and

permittees of public . . . television stations, as well as any other recipients of CPB

funds, do not use Federal funds for . . . PBS” likewise violates the First Amendment

by unconstitutionally retaliating against PBS based on PBS’s protected speech. EO

§ 2.

       121.   The same is true of the President’s further instruction that “[t]he heads

of all agencies shall identify and terminate, to the maximum extent consistent with

appliable law, any direct or indirect funding of . . . PBS.” EO § 3.

       122.   Plaintiffs are private entities entitled to First Amendment protection.

       123.   Plaintiffs have engaged in activity protected by the First Amendment,

including the production and distribution of children’s educational programming and

public affairs programming.

       124.   Plaintiffs’ First Amendment activity was the but-for cause of, and a

motivating factor in, Defendants’ decision to take retaliatory action against Plaintiffs

through the EO. See EO § 1 (“What does matter is that” PBS allegedly does not

“present[] a fair, accurate, or unbiased portrayal of current events,” and “therefore . . .

the CPB Board of Directors . . . and all executive departments and agencies” must

“cease Federal funding for . . . PBS.”) (emphasis added).

       125.   Defendants’ public statements in the Truth Social Post, the White House

Statement, and the EO Fact Sheet make clear that the EO was issued in response to

Plaintiffs’ protected First Amendment activity. Those documents identify specific



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PBS programs or actions that, in the President’s view, justify the cessation of funding

to PBS.

      126.      Defendants’ purported termination of funding to PBS through the EO

and all actions associated therewith would likely deter the First Amendment activity

of a person of ordinary firmness in Plaintiffs’ position by coercing Plaintiffs to modify

their speech or else face government retaliation.

                                        COUNT VI

             Violation of the First Amendment, U.S. Const. amend. I:
                               Freedom of the Press
                             (Against All Defendants)

      127.      All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

      128.      The First Amendment prohibits the government from “abridging the

freedom of . . . the press.” U.S. CONST. amend. I; see Richmond Newspapers, Inc. v.

Virginia, 448 U.S. 555, 575 (1980). “[F]reedom of the press . . . is one of the basic

features of American institutions[.]” Liberty Lobby, Inc. v. Pearson, 261 F. Supp. 726,

727 (D.D.C. 1966). “[T]he First Amendment goes beyond protection of the press and

the self-expression of individuals to prohibit government from limiting the stock of

information from which members of the public may draw.” Richmond Newspapers,

448 U.S. at 575-576 (alteration in original).

      129.      The President’s “instruct[ion]” in the EO that “the CPB Board of

Directors . . . and all executive departments and agencies . . . cease Federal funding

for . . . PBS,” and ED’s issuance of the ED Termination Notice, violates the First

Amendment’s protection of the freedom of the press. EO § 1.

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      130.   The President’s additional “[i]nstruction[]” in the EO that “[t]he CPB

Board . . . cease indirect funding to . . . PBS, including by ensuring that licensees and

permittees of public . . . television stations, as well as any other recipients of CPB

funds, do not use Federal funds for . . . PBS” likewise violates the First Amendment’s

protection of the freedom of the press. EO § 2.

      131.   The same is true of the President’s further instruction that “[t]he heads

of all agencies shall identify and terminate, to the maximum extent consistent with

appliable law, any direct or indirect funding of . . . PBS.” EO § 3.

      132.   Plaintiffs are private entities entitled to First Amendment protection,

including as entities engaged in journalistic activities such as the production and

distribution of PBS’s public affairs programming.

      133.   Plaintiffs have engaged in activity protected by the Speech Clause and

Press Clause of the First Amendment, including the curation, aggregation, and

distribution of public affairs programming.

      134.   Defendants have deprived Plaintiffs of their First Amendment right to

freedom of the press by terminating PBS funding based on allegations that PBS

provides “biased and partisan news coverage” and fails to “present[] a fair, accurate,

[and] unbiased portrayal of current events to taxpaying citizens.” EO § 1; see Truth

Social Post; White House Statement; EO Fact Sheet.

      135.   The EO chills news coverage and compromises reporting of valuable

news stories and opinion pieces by terminating funding to PBS based on those

allegations and the President’s criticism that PBS news media is “outdated and



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unnecessary” and “corrosive to the appearance of journalistic independence.” EO § 1.

Further, the EO, through its termination of funding to PBS, has impinged on the

exercise of Plaintiffs’ journalistic activities.

                                       COUNT VII

       Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)
                         (Against Agency Defendants)

       136.     All of the foregoing allegations are repeated and realleged as if fully set

forth herein.

       137.     The APA directs courts to hold unlawful and set aside agency actions

that are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law,” 5 U.S.C. § 706(2)(A), “contrary to constitutional right, power, privilege, or

immunity,” id. § 706(2)(B), or “in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right,” id. § 706(2)(C).

       138.     The EO instructs that “the CPB Board of Directors . . . and all executive

departments and agencies . . . cease Federal funding for . . . PBS,” including by

altering their policies. EO § 1.

       139.     Treasury, at the direction of Secretary Bessent, could implement the

EO’s prohibition of direct and indirect funding to PBS by managing appropriations

deposited in the Public Broadcasting Fund.

       140.     OMB, at the direction of Director Vought, could implement the EO’s

prohibition of direct and indirect funding to PBS by managing the policy

implementation activities related to the EO by every relevant federal agency,

including Treasury, FEMA, DHS, and ED.


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      141.     FEMA and DHS, at the direction of Mr. Richardson and Secretary Noem,

could implement the EO’s prohibition on indirect funding to PBS by conditioning

funding for public emergency alert services to PBS Member Stations.

      142.     ED, at the direction of Secretary McMahon, has already and could

continue to implement the EO’s prohibition of funding to PBS by cancelling and

denying grants to PBS.

      143.     Agency Defendants’ actions implementing the EO are “final” agency

actions because they finally “determine” the “rights or obligations” of the parties and

are backed by “legal consequences.” Bennett v. Spear, 520 U.S. 154, 177-178 (1997).

      144.     Those actions are unlawful under the Act and the First Amendment for

all of the reasons stated above. See ¶¶ 81-135, supra.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for relief against Defendants as follows:

      1.       Declare that the EO’s instruction to cease federal funding to PBS and to
               place restrictions on federal funding to PBS Member Stations is ultra
               vires and in violation of the Act.

      2.       Declare that the EO’s instruction to cease federal funding to PBS and to
               place restrictions on federal funding to PBS Member Stations violates
               the First Amendment.

      3.       Declare that actions of federal agencies to implement the unlawful EO
               instructions to terminate federal funding to PBS and to place
               restrictions on federal funding to PBS Member Stations violate the APA.

      4.       Issue injunctive and other expedited relief barring Defendants from
               implementing the EO’s termination of funding to PBS and placement of
               restrictions on federal funding to PBS Member Stations.

      5.       Award Plaintiffs reasonable costs and attorneys’ fees.

      6.       Grant such other relief as the Court deems necessary and proper.

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Dated: May 30, 2025                Respectfully submitted,

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